Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page1of 23

EXHIBIT 11
02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 2 of 23

Department of Defense
Military Commission Instruction No. 2

April 30, 2003

SUBJECT: Crimes and Elements for Trials by Military Commission

References: (a) Military Commission Order No. 1 (Mar. 21, 2002)

(b) Military Order of November 13, 2001, “Detention, Treatment, and Trial of
Certain Non-Citizens in the War Against Terrorism,” 66 F.R. 57833 (Nev. 16,
2001)

(c) Section 113(d) of Title 10 of the United States Code
(d) Section 140(b) of Title 10 of the United States Code
(e) Section 821 of Title 10 of the United States Code

(f) Military Commission Instruction No. 1, current edition

1. PURPOSE

This Instruction provides guidance with respect to crimes that may be tried by military
commissions established pursuant to references (a) and (b) and enumerates the elements of those
crimes.

2. AUTHORITY

This Instruction is issued pursuant to Section 7(A) of reference (a) and in accordance with
references (b) through (e). The provisions of reference (f) are applicable to this Instruction.

3. GENERAL
A. Background. The following crimes and elements thereof are intended for use by

military commissions established pursuant to references (a) and (b), the jurisdiction of
which extends to offenses or offenders that by statute or the law of armed conflict
may be tried by military commission as limited by reference (b). No offense is
cognizable in a trial by military commission if that offense did not exist prior to the
conduct in question. These crimes and elements derive from the law. of armed
conflict, a body of law that is sometimes referred to as the law of war. They
constitute violations of the law of armed conflict or offenses that, consistent with that

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 3 of 23

DoD MCI No. 2, April 30, 2003

body of law, are triable by. military commission. Because this document is
declarative of existing law, it does not preclude trial for crimes that occurred prior to

its effective date.

B. Effect of Other Laws. No conclusion regarding the applicability or persuasive
authority of other bodies of law should be drawn solely from the presence, absence,
or similarity of particular language in this Instruction as compared to other

articulations of law.

C. Non-Exclusivity. This Instruction does not contain a comprehensive list of crimes
triable by military commission. It is intended to be illustrative of applicable
principles of the common law of war but not to provide an exclusive enumeration of
the punishable acts recognized as such by that law. The absence of a particular
offense from the corpus of those enumerated herein does not preclude trial for that

offense.

4, APPLICABLE PRINCIPLES OF LAW

A. General Intent. All actions taken by the Accused that are necessary: for completion of
a crime must be performed with general intent. This intent is not listed as a separate
element. When the mens rea required for culpability to attach involves an intent that
a particular consequence occur, or some other specific intent, an intent element is
included. The necessary relationship between such intent element and the conduct
constituting the actus reus is not articulated for each set of elements, but is presumed;

a nexus between the two is necessary.

B. The Element of Wrongfulness and Defenses. Conduct must be wrongful to constitute
one of the offenses enumerated herein or any other offense triable by military
commission. Conduct is wrongful if it is done without justification or excuse
cognizable under applicable law. The element of wrongfulness (or the absence of
lawful justification or excuse), which may be required under the customary law of
armed conflict, is not repeated in the elements of crimes below. Conduct satisfying
the elements found herein shall be inferred to be wrongful in the absence of evidence
to the contrary. Similarly, this Instruction does not enunciate defenses that may apply
for specific offenses, though an Accused is entitled to raise any defense available
under the law of armed conflict. Defenses potentially available to an Accused under
the law of armed conflict, such as self-defense, mistake of fact, and duress, may be
applicable to certain offenses subject to trial by military commission. In the absence
of evidence to the contrary, defenses in individual cases shall be presumed not to
apply. The burden of going forward with evidence of lawful justification or excuse or
any applicable defense shall be upon the Accused. With respect to the issue of
combatant immunity raised by the specific enumeration of an element requiring the
absence thereof, the prosecution must affirmatively prove that element regardless of
whether. the issue is raised by the defense. Once an applicable defense or an issue of
lawful justification or lawful excuse is fairly raised by the evidence presented, except
for the defense of lack of mental responsibility, the burden is on the prosecution to
establish beyond a reasonable doubt that the conduct was wrongful or that the defense
does not apply. With respect to the defense of lack of mental responsibility, the

2

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page4of 23

DoD MCT No. 2, April 30, 2003

Accused has the burden of proving by clear and convincing evidence that, as a result
of a severe mental disease or defect, the Accused was unable to appreciate the nature
and quality of the wrongfulness of the Accused’s acts. As provided in Section 5(C)
of reference (a), the prosecution bears the burden of establishing the Accused’s guilt
beyond a reasonable doubt in all cases tried by a military commission. Each element
of an offense enumerated herein must be proven beyond a reasonable doubt.

_ C. Statute of Limitations. Violations of the laws of war listed herein are not subject to
any statute of limitations.

5. DEFINITIONS

A. Combatant immunity. Under the law of armed conflict, only a lawful combatant
enjoys “combatant immunity” or “belligerent privilege” for the lawful conduct of
hostilities during armed conflict.

B. Enemy. “Enemy” includes any entity with which the United States or allied forces
may be engaged in armed conflict, or which is preparing to attack the United States.
It is not limited to foreign nations, or foreign military organizations or members
thereof. “Enemy” specifically includes any organization of terrorists with
international reach.

C. In the context of and was associated with armed conflict. Elements containing this
language require a nexus between the conduct and armed hostilities. Such nexus
could involve, but is not limited to, time, location, or purpose of the conduct in
relation to the armed hostilities. The existence of such factors, however, may not
satisfy the necessary nexus (e.g., murder committed between members of the same
armed force for reasons of personal gain unrelated to the conflict, even if temporally
and geographically associated with armed conflict, is not “in the context of” the
armed conflict). The focus of this element is not the nature or characterization of the
conflict, but the nexus to it. This element does not require a declaration of war,
ongoing mutual hostilities, or confrontation involving a regular national armed force.
A single hostile act or attempted act may provide sufficient basis for the nexus so
long as its magnitude or severity rises to the level of an “armed attack” or an “act of
war,” or the number, power, stated intent or organization of the force with which the
actor is associated is such that the act or attempted act is tantamount to an attack by
an armed force. Similarly, conduct undertaken or organized with knowledge or intent
that it initiate or contribute to such hostile act or hostilities would satisfy the nexus

requirement.

D. Military Objective. “Military objectives” are those potential targets during an armed
conflict which, by their nature, location, purpose, or use,.effectively contribute to the
opposing force’s war-fighting or war-sustaining capability and whose total or partial
destruction, capture, or neutralization would constitute a military advantage to the
attacker under the circumstances at the time of the attack.

E. Object of the attack. “Object of the attack” refers to the person, place, or thing
intentionally targeted. In this regard, the term includes neither collateral damage nor
incidental injury or death.

3

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04. Page5of 23

DoD MCI No. 2, April 30, 2003

F. Protected property. “Protected property” refers to property specifically protected by
the law of armed conflict such as buildings dedicated to religion, education, art,
science or charitable purposes, historic monuments, hospitals, or places where the
sick and wounded are collected, provided they are not being used for military
purposes or are not otherwise military objectives. Such property would include
objects properly identified by one of the distinctive emblems of the Geneva
Conventions but does not include all civilian property.

G. Protected under the law of war. The person or object in question is expressly
“protected” under one or more of the Geneva Conventions of 1949 or, to the extent
applicable, customary international law. The term does not refer to all who enjoy
some form of protection as a consequence of compliance with international law, but
those who are expressly designated as such by the applicable law of armed conflict.
For example, persons who either are hors de combat or medical or religious personnel
taking no active part in hostilities are expressly protected, but other civilians may not
be.

H. Should have known. The facts and circumstances were such that a reasonable person
in the Accused’s position would have had the relevant knowledge or awareness.

‘6. CRIMES AND ELEMENTS

A. Substantive Offenses—War Crimes. The following enumerated offenses, if applicable,
should be charged in separate counts. Elements are drafted to reflect conduct of the
perpetrator. Each element need not be specifically charged.

1) Willful Killing Of Protected Persons
a. Llements.
(1) The accused killed one or. more persons;
(2) The accused intended to kill such person or persons;
(3) Such person or persons were protected under the law of war;

. (4) The accused knew or should have known of the factual circumstances that
established that protected status; and

(5) The killing took place in the context of and was associated with armed
conflict.

b. Comments.

(1) The intent required for this offense precludes its applicability with regard
to collateral damage or injury incident to a lawful attack.

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 6 of 23
DoD MCI No. 2, April 30, 2003

2) Attacking Civilians
a. Elements.
(1) The accused engaged in an attack;

(2) The object of the attack was a civilian population as such or individual
civilians not taking direct or active part in hostilities;

(3) The accused intended the civilian population as such or individual
civilians not taking direct or active part in hostilities to be an object of the
attack; and

(4) The attack took place in the context of and was associated with armed
conflict.

b. Comments.

(1) The intent required for this offense precludes its applicability with regard
to collateral damage or injury incident to a lawful attack.

3) Attacking Civilian Objects
a. Elements.
(1) The accused engaged in an attack;

(2) The object of the attack was civilian property, that is, property that was
not a military objective;

(3) The accused intended such property to be an object of the attack;

(4) The accused knew or should have known that such property was not a
military objective; and

(5) The attack took place in the context of and was associated with armed
conflict.

b. Comments.

(1) The intent required for this offense precludes its applicability with regard
to collateral damage or injury incident to a lawful attack.

4) Attacking Protected Property
a. Elements:
(1) The accused engaged in an attack;
(2) The object of the attack was protected property;
(3) The accused intended such property to be an object of the attack;

(4) The accused knew or should have known of the factual circumstances that

established that protected status; and

5

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 7 of 23
DoD MCI No. 2, April 30, 2003

(5) The attack took place in the context of and was associated with armed
‘" conflict.

“b. Comments.

(1) The intent required for this offense precludes its applicability with regard
to collateral damage or injury incident to a lawful attack.

5) Pillaging
a. Elements.
(1) The accused appropriated or seized certain property;

(2) The accused intended to appropriate or seize such property for private or
personal use;

(3) The appropriation or seizure was without the consent of the owner of the
property or other person with authority to permit such appropriation or
seizure; and

(4) The appropriation or seizure took place in the context of and was
associated with armed conflict.

b. Comments.

(1) As indicated by the use of the term “private or personal use,” legitimate
captures or appropriations, or seizures justified by military necessity,
cannot constitute the crime of pillaging.

6) Denying Quarter
a. Elements.

(1) The accused declared, ordered, or otherwise indicated that there shall be
no survivors or surrender accepted;

(2) The accused thereby intended to threaten an adversary or to conduct
hostilities such that there would be no survivors or surrender accepted;

(3) It was foreseeable that circumstances would be such that a practicable and
reasonable ability to accept surrender would exist;

(4) The accused was in a position of effective command or control over the
subordinate forces to which the declaration or order was directed; and

(5) The conduct took place in the context of and was associated with armed
conflict.

b. Comments.

(1) Element (3) precludes this offense from being interpreted as limiting the
application of lawful means or methods of warfare against enemy

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 8 of 23
DoD MCI No. 2, April 30, 2003

combatants. For example, a remotely delivered attack cannot give nse to
this offense.

7) Taking Hostages
a. Llements.
(1) The accused seized, detained, or otherwise held hostage one or more
persons;
(2) The accused threatened to kill, injure, or continue to detain such person or
persons;

(3) The accused intended to compel a State, an international organization, a
natural or legal person, or a group of persons to act or refrain from acting
as an explicit or implicit condition for the safety or release of such person

or persons; and
(4) The conduct took place in the context of and was associated with armed
conflict.
b. Comments.

(1) Consistent with Section 4(B) of this Instruction, this offense cannot be
committed by lawfully detaining enemy combatants or other individuals as
authorized by the law of armed conflict.

8) Employing Poison or Analogous Weapons

a. Elements.
(1) The accused employed a substance or a weapon that releases a substance
as a result of its employment;

(2) The substance was such that exposure thereto causes death or serious
damage to health in the ordinary course of events, through its
asphyxiating, poisonous, or bacteriological properties;

(3) The accused employed the substance or weapon with the intent of utilizing
such asphyxiating, poisonous, or bacteriological properties as a method of

warfare;
(4) The accused knew or should have known of the nature of the substance or
weapon; and
(5) The conduct took place in the context of and was associated with armed
conflict.
b. Comments.

(1) The “death or serious damage to health” required by Element (2) of this
offense must be a direct result of the substance’s effect or effects on the
human body (e.g., asphyxiation caused by the depletion of atmospheric

7

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 PageQof 23
DoD MCI No. 2, April 30, 2003

oxygen secondary to a chemical or other reaction would not give rise to
this offense).

(2) The clause “serious damage to health” does not include temporary
incapacitation or sensory irritation.

(3) The use of the “substance or weapon” at issue must be proscribed under
the law of armed conflict. It may include chemical or biological agents.

(4) The specific intent element for this offense precludes hability for mere
knowledge of potential collateral consequences (e.g., mere knowledge of a
secondary asphyxiating or toxic effect would be insufficient to complete
the offense).

9) Using Protected Persons as Shields
a. Elements.

(1) The accused positioned, or took advantage of the location of, one or more
civilians or persons protected under the law of war; - :

(2) The accused intended to use the civilian or protected nature of the person
or persons to shield a military objective from attack or to shield, favor, or
impede military operations; and

(3) The conduct took place in the context of and was associated with armed
conflict.

10) Using Protected Property as Shields
a. Elements.

(1) The accused positioned, or took advantage of the location of, civilian
property or property protected under the law of war;

(2) The accused intended to shield a military objective from attack or to
shield, favor, or impede military operations; and

(3) The conduct took place in the context of and was associated with armed
conflict.

11) Torture
a. Elements.

(1) The accused inflicted severe physical or mental pain or suffering upon one
or more persons;

(2) The accused intended to inflict such severe physical or mental pain or
suffering;

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 10 of 23
DoD MCI No. 2, April 30, 2003

. (3) Such person or persons were in the custody or under the control of the
accused; and’

(4) The conduct took place in the context of and was associated with armed
conflict.
b. Comments.
(1) Consistent with Section 4(B) of this Instruction, this offense does not
include pain or suffering arising only from, inherent in, or incidental to,
lawfully imposed punishments. This offense does not include the

incidental infliction of pain or suffering associated with the legitimate
conduct of hostilities.

(2) Severe “mental pain or suffering” is the prolonged mental harm caused by
or resulting from:

(a) the intentional infliction or threatened infliction of severe physical
pain or suffering;

(b) the administration or application, or threatened administration or
application, of mind-altering substances or other procedures calculated
to disrupt profoundly the senses or the personality;

(c) the threat of imminent death; or

(d) the threat that another person will imminently be subjected to death,
severe physical pain or suffering, or the administration or application
of mind-altering substances or other procedures calculated to disrupt
profoundly the senses or personality.

(3) “Prolonged mental harm” is a harm of some sustained duration, though
not necessarily permanent in nature, such as a clinically identifiable
mental disorder.

(4) Element (3) of this offense does not require a particular formal
relationship between the accused and the victim. Rather, it precludes
prosecution for pain or suffering consequent to a lawful military attack.

12) Causing Serious Injury
a. Elements.

(1) The accused caused serious injury to the body or health of one or more
persons;

(2) The accused intended to inflict such serious injury;

(3) Such person or persons were in the custody or under the control of the’
accused; and

(4) The conduct took place in the context of and was associated with armed
conflict.

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 11 of 23

DoD MCI No. 2, April 30, 2003

b. Comments.

(1) “Serious injury” includes fractured or dislocated bones, deep cuts, torn
members of the body, and serious damage to internal organs.

13) Mutilation or Maiming
a. Elements.

(1) The accused subjected one or more persons to mutilation, in particular by
permanently disfiguring the person or persons, or by permanently
disabling or removing an organ or appendage;

(2) The accused intended to subject such person or persons to such mutilation;

(3) The conduct caused death or seriously damaged or endangered the
physical or mental health or appearance of such person or persons.

(4) The conduct was neither justified by the medical treatment of the person
or persons concerned nor carried out in the interest of such person or
persons;

(5) Such person or persons were in the custody or control of the accused; and

(6) The conduct took place in the context of and was associated with armed
conflict.

14) Use of Treachery or Perfidy
a. Llements.

(1) The accused invited the confidence or belief of one or more persons that
they were entitled to, or were obliged to accord, protection under the law
of war;

(2) The accused intended to betray that confidence or belief;
(3) The accused killed, injured, or captured one or more persons;

(4) The accused made use of that confidence or belief in killing, injuring, or
capturing such person or persons; and

(5) The conduct took place in the context of and was associated with armed
conflict.

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 12 of 23

DoD MCI No. 2, April 30, 2003

15) Improper Use of Flag of Truce
a. Elements.
(1) The accused used a flag of truce;

(2) The accused made such use in order to feign an intention to negotiate,
surrender, or otherwise to suspend hostilities when there was no such
intention on the part of the accused; and

(3) The conduct took place in the context of and was associated with armed
conflict.

16) Improper Use of Protective Emblems

a. Elements.

(1) The accused used a protective emblem recognized by the law of armed
conflict;

(2) The accused undertook such use for combatant purposes In a manner
prohibited by the law of armed conflict;

(3) The accused knew or should have known of the prohibited nature of such
use; and

(4) The conduct took place in the context of and was associated with armed
conflict.

b. Comments.

(1) “Combatant purposes,” as used in Element (2) of this offense, means
purposes directly related to hostilities and does not include medical,
religious, or similar activities.

17) Degrading Treatment of a Dead Body
a. Elements.

(1) The accused degraded or otherwise violated the dignity of the body of a
dead person;

(2) The accused intended to degrade or otherwise violate the dignity of such
body;

(3) The severity of the degradation or other violation was of such degree as to
be generally recognized as an outrage upon personal dignity; and

(4) The conduct took place in the context of and was associated with armed
conflict.

1]

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 13 of 23
DoD MCI No. 2, April 30, 2003

b. Comments.

(1) Element (2) of this offense precludes prosecution for actions justified by
military necessity.

18) Rape
a. Elements.

(1) The accused invaded the body of a person by conduct resulting in
penetration, however slight, of any part of the body of the victim or of the
accused with a sexual organ, or of the anal or genital opening of the victim
with any object or any other part of the body;

(2) The invasion was committed by force, threat of force or coercion, or was
committed against a person incapable of giving consent; and

(3) The conduct took place in the context of and was associated with armed
conflict.

b. Comments.

(1) Element (2) of this offense recognizes that consensual conduct does not
give rise to this offense.

(2) It is understood that a person may be incapable of giving consent if
affected by natural, induced, or age-related incapacity.

(3) The concept of “invasion” is linked to the inherent wrongfulness
requirement for all offenses. In this case, for example, a legitimate body
cavity search could not give rise to this offense.

(4) The concept of “invasion” is gender neutral.

B. Substantive Offenses—Other Offenses Triable by Military Commission. The
following enumerated offenses, if applicable, should be charged in separate counts.
Elements are crafted to reflect conduct of the perpetrator. Each element need not be
specifically charged.

1) Hijacking or Hazarding a Vessel or Aircraft
a. Llements.

(1) The accused seized, exercised control over, or endangered the safe
navigation of a vessel or aircraft;

(2) The accused intended to so seize, exercise control over, or endanger such
vessel or aircraft; and

(3) The conduct took place in the context of and was associated with armed
conflict.

12

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 14 of 23

DoD MCI No. 2, April 30, 2003

b. Comments.

(1) A seizure, exercise of control, or endangerment required by military
necessity, or against a lawful military objective undertaken by military
forces of a State in the exercise of their official duties, would not satisfy
the wrongfulness requirement for this crime.

2) Terrorism
a. Elements.

(1) The accused killed or inflicted bodily harm on one or more persons or
destroyed property;

(2) The accused:
(a) intended to kill or inflict bodily harm on one or more persons;
or

(b) intentionally engaged in an act that is inherently dangerous to another
and evinces a wanton disregard of human life;

(3) The killing, harm or destruction was intended to intimidate or coerce a
civilian population, or to influence the policy of a government by
intimidation or coercion; and

(4) The killing, harm or destruction took place in the context of and was
associated with armed conflict.

b. Comments.

(1) Element (1) of this offense includes the concept of causing death or bodily
harm, even if indirectly.

(2) The requirement that the conduct be wrongful for this crime necessitates
that the conduct establishing this offense not constitute an attack against a
lawful military objective undertaken by military forces of a State in the
exercise of their official duties.

3) Murder by an Unprivileged Belligerent
a. Elements.

(1) The accused killed one or more persons;

(2) The accused:
(a) intended to kill or inflict great bodily harm on such person or persons

or
(b) intentionally engaged in an act that is inherently dangerous to another
and evinces a wanton disregard of human life;

13

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 15 of 23

DoD MCI No. 2, April 30, 2003

_ (3) The accused did not enjoy combatant immunity; and

(4) The killing took place in the context of and was associated with armed
conflict.

b. Comments.

(1) The term “kill” includes intentionally causing death, whether directly or
indirectly.

(2) Unlike the crimes of willful killing or attacking civilians, in which the
victim’s status is a prerequisite to criminality, for this offense the victim’s
status is immaterial. Even an attack on a soldier would be a crime if the
attacker did not enjoy “belligerent privilege” or “combatant immunity.”

4) Destruction of Property by an Unprivileged Belligerent
a. Elements.
(1) The accused destroyed property;

(2) The property belonged to another person, and the destruction was without
that person’s consent;

(3) The accused intended to destroy such property;
(4) The accused did not enjoy combatant immunity; and

(5) The destruction took place in the context of and was associated with
armed conflict.

5) Aiding the Enemy
a. Elements.
(1) The accused aided the enemy;
(2) The accused intended to aid the enemy; and

(3) The conduct took place in the context of and was associated with armed
conflict.

b. Comments.

(1) Means of accomplishing Element (1) of this offense include, but are not
limited to: providing arms, ammunition, supplies, money, other items or
services to the enemy; harboring or protecting the enemy; or giving
intelligence or other information to the enemy.

(2) The requirement that conduct be wrongful for this crime necessitates that
the accused act without proper authority. For example, furnishing enemy
combatants detained during hostilities with subsistence or quarters in
accordance with applicable orders or policy is not aiding the enemy.

14

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 16 of 23
DoD MCI No. 2, April 30, 2003

(3) The requirement that conduct be wrongful for this crime may necessitate
that, in the case of a lawful belligerent, the accused owe allegiance or
some duty to the United States of America or to an ally or coalition
partner. For example, citizenship, resident alien status, or a contractual
relationship in or with the United States or an ally or coalition partner is
sufficient to satisfy this requirement so long as the relationship existed at a
time relevant to the offense alleged.

6) Spying
a. Elements.
(1) The accused collected or attempted to collect certain information;
(2) The accused intended to convey such information to the enemy;

(3) The accused, in collecting or attempting to collect the information, was
lurking or acting clandestinely, while acting under false pretenses; and

(4) The conduct took place in the context of and was associated with armed
conflict.

b. Comments.

(1) Members of a military organization not wearing a disguise and others who
carry out their missions openly are not spies, if, though they may have
resorted to concealment, they have not acted under false pretenses.

(2) Related to the requirement that conduct be wrongful or without
justification or excuse in this case is the fact that, consistent with the law
of war, a lawful combatant who, after rejoining the armed force to which
that combatant belongs, is subsequently captured, can not be punished for
previous acts of espionage. His successful rejoining of his armed force
constitutes a defense.

7). Perjury or False Testimony

a. Elements.

(1) The accused testified at a military commission, in proceedings ancillary to
a military commission, or provided information in a writing executed ~
under an oath to tell the truth or a declaration acknowledging the
applicability of penalties of perjury in connection with such proceedings;

(2) Such testimony or information was material;
(3) Such testimony or information was false; and

(4) The accused knew such testimony or information to be false.

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 17 of 23

DoD MCI No. 2, April 30, 2003

8) Obstruction of Justice Related to Military Commissions
a. Llements.
(1) The accused did an act;

(2) The accused intended to influence, impede, or otherwise obstruct the due
administration of justice; and

(3) The accused did such act in the case of a certain person against whom the
accused had reason to believe:

(a) there were or would be proceedings before a military commission
or

(b) there was an ongoing investigation of offenses triable by military
commission.

C. Other Forms of Liability and Related Offenses. A person is criminally liable as a
principal for a completed substantive offense if that person commits the offense
(perpetrator), aids or abets the commission of the offense, solicits commission of the
offense, or is otherwise responsible due to command responsibility. Such a person
would be charged as a principal even if another individual more directly perpetrated
the offense. In proving culpability, however, the below listed definitions and
elements are applicable. Additionally, if a substantive offense was completed, a
person may be criminally liable for the separate offense of accessory after the fact. If
the substantive offense was not completed, a person may be criminally liable of the
lesser-included offense of attempt or the separate offense of solicitation. Finally,
regardless of whether the substantive offense was completed, a person may be
criminally liable of the separate offense of conspiracy in addition to the substantive
offense. Each element need not be specifically charged.

1) Aiding or Abetting
a. Llements.

(1) The accused committed an act that aided or abetted another person or
entity in the commission of a substantive offense triable by military
commission;

' (2) Such other person or entity committed or attempted to commit the
substantive offense; and

(3) The accused intended to or knew that the act would aid or abet such other
person or entity in the commission of the substantive offense or an
associated criminal purpose or enterprise.

b. Comments.

(1) The term “aided or abetted” in Element (1) includes: assisting,
encouraging, advising, instigating, counseling, ordering, or procuring
16

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 18 of 23

DoD MCI Na. 2, April 30, 2603

another to commit a substantive offense; assisting, encouraging, advising,
counseling, or ordering another in the commission of a substantive
offense; and in any other way facilitating the commission of a substantive

offense.

(2) In some circumstances, inaction may render one liable as an aider or
abettor. If a person has a legal duty to prevent or thwart the commission
of a substantive offense, but does not do so, that person may be considered
to have aided or abetted the commission of the offense if such
noninterference is intended to and does operate as an aid or
encouragement to the actual perpetrator.

(3) An accused charged with aiding or abetting should be charged with the
related substantive offense as a principal.

2) Solicitation
a. Flements.

(1) The accused solicited, ordered, induced, or advised a certain person or
persons to commit one or more substantive offenses triable by military
commission; and

(2) The accused intended that the offense actually be committed.

b. Comments.

(1) The offense is complete when a solicitation is made or advice is given
with the specific wrongful intent to induce a person or persons to commit
any offense triable by military commission. It is not necessary that the
person or persons solicited, ordered, induced, advised, or assisted agree to
or act upon the solicitation or advice. If the offense solicited is actually
committed, however, the accused is hable under the law of armed conflict
for the substantive offense. An accused should not be convicted of both
solicitation and the substantive offense solicited if criminal liability for the
substantive offense is based upon the solicitation.

(2) Solicitation may be by means other than speech or writing.. Any act or
conduct that reasonably may be construed as a serious request, order,
inducement, advice, or offer of assistance to commit any offense triable by
military commission may constitute solicitation. It is not necessary that
the accused act alone in the solicitation, order, inducement, advising, or
assistance. The accused may act through other persons in committing this
offense

(3) An accused charged with solicitation of a completed substantive offense
should be charged for the substantive offense as a principal. An accused
charged with solicitation of an uncompleted offense should be charged for
the separate offense of solicitation. Solicitation is not a lesser-included
offense of the related substantive offense.

17

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 19 of 23
DoD MCI No. 2, April 30, 2003

3) Command/Superior Responsibility — Perpetrating
a. Elements.

(1) The accused had command and control, or effective authority and control,
over one or more subordinates;

(2) One or more of the accused’s subordinates committed, attempted to
commit, conspired to commit, solicited to commit, or aided or abetted the
commission of one or more substantive offenses triable by military
commission;

(3) The accused either knew or should have known that the subordinate or
subordinates were committing, attempting to commit, conspiring to
commit, soliciting, or aiding or abetting such offense or offenses; and

(4) The accused failed to take all necessary and reasonable measures within
his power to prevent or repress the commission of the offense or offenses.

b. Comments.

(1) The phrase “effective authority and control” in Element (1) of this offense
includes the concept of relative authority over the subject matter or
activities associated with the perpetrator’s conduct. This may be relevant
to a civilian superior who should not be held responsible for the behavior
of subordinates involved in activities that have no relationship to such
superior’s sphere of authority. Subject matter authority need not be
demonstrated for command responsibility as it applies to a military
commander.

(2) A commander or other military or civilian superior, not in command,
charged with failing adequately to prevent or repress a substantive offense
triable by military commission should be charged for the related
substantive offense as a principal.

4) Command/Superior Responsibility — Misprision
a. Elements.

(1) The accused had command and control, or effective authority and c control,
over one or more subordinates;

(2) One or more of the accused’s subordinates had committed, attempted to
commit, conspired to commit, solicited to commit, or aided or abetted the
commission of one or more substantive offenses triable by military
commission;

(3) The accused knew or should have known that the subordinate or
subordinates had committed, attempted to commit, conspired to commit,
solicited, or aided or abetted such offense or offenses; and

(4) The accused failed to submit the matter to competent authorities for
investigation or prosecution as appropriate.
18

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 20 of 23

DoD MCI No. 2, April 30, 2003

b. Comments.

(1) The phrase, “effective authority and control” in Element (1) of this offense
includes the concept of relative authority over the subject matter or
activities associated with the perpetrator’s conduct. This may be relevant
to a civilian superior who cannot be held responsible under this offense for
the behavior of subordinates involved in activities that have nothing to do
with such superior’s sphere of.authority.

(2) A commander or superior charged with failing to take appropriate punitive
or investigative action subsequent to the perpetration of a substantive
offense triable by military commission should not be charged for the
substantive offense as a principal. Such commander or superior should be
charged for the separate offense of failing to submit the matter for __
investigation and/or prosecution as detailed in these elements. This
offense is not a lesser-included offense of the related substantive offense.

5) Accessory After the Fact
a. Elements.
(1) The accused received, comforted, or assisted a certain person;
(2) Such person had committed an offense triable by military commission;

(3) The accused knew that such person had committed such offense or
believed such person had committed a similar or closely related offense;
and

(4) The accused intended to hinder or prevent the apprehension, trial, or
punishment of such person.

b. Comments.

(1) Accessory after the fact should be charged separately from the related
substantive offense. It is not a lesser-included offense of the related
substantive offense.

6) Conspiracy
a. Elements.

(1) The accused entered into an agreement with one or more persons to
commit one or more substantive offenses triable by military commission
or otherwise joined an enterprise of persons who shared a common
criminal purpose that involved, at least in part, the commission or intended
commission of one or more substantive offenses triable by military
commission;

19

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 21 of 23

DoD MCI Na. 2, April 30, 2003

(2) The accused knew the unlawful purpose of the agreement or the common
criminal purpose of the enterprise and joined in it willfully, that is, with
the intent to further the unlawful purpose; and

(3) One of the conspirators or enterprise members, during the existence of the
agreement or enterprise, knowingly committed an overt act in order to
accomplish some objective or purpose of the agreement or enterprise.

b. Comments.

(1) Two or more persons are required in order to have a conspiracy.
Knowledge of the identity of co-conspirators and their particular
connection with the agreement or enterprise need not be established. A
person may be guilty of conspiracy although incapable of committing the
intended offense. The joining of another conspirator after the conspiracy
has been established does not create a new conspiracy or affect the status
of the other conspirators. The agreement or common criminal purpose in
a conspiracy need not be in any particular form or manifested in any
formal words.

(2) The agreement or enterprise must, at least in part, involve the commission
or intended commission of one or more substantive offenses triable by
military commission. A single conspiracy may embrace multiple criminal
objectives. The agreement need not include knowledge that any relevant
offense is in fact “triable by military commission.”

(3) The overt act must be done by one or more of the conspirators, but not
necessarily the accused, and it must be done to effectuate the object of the
conspiracy or in furtherance of the common criminal purpose. The
accused need not have entered the agreement or criminal enterprise at the
time of the overt act.

(4) The overt act need not be in itself criminal, but it must advance the
purpose of the conspiracy. It is not essential that any substantive offense

be committed.

(5) Each conspirator is liable for all offenses committed pursuant to or in
furtherance of the conspiracy by any of the co-conspirators, after such
conspirator has joined the conspiracy and while the conspiracy continues
and such conspirator remains a party to it.

(6) A party to the conspiracy who withdraws from or abandons the agreement
or enterprise before the commission of an overt act by any conspirator is
not guilty of conspiracy. An effective withdrawal or abandonment must
consist of affirmative conduct that is wholly inconsistent with adherence
to the unlawful agreement or common criminal purpose and that shows
that the party has severed all connection with the-conspiracy. A
conspirator who effectively withdraws from or abandons the conspiracy
after the performance of an overt act by one of the conspirators remains

20

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 22 of 23
DoD MCI No. 2, April 30, 2003

guilty of conspiracy and of any offenses committed pursuant to the
conspiracy up to the time of the withdrawal or abandonment. The
withdrawal of a conspirator from the conspiracy does not affect the status
of the remaining members:

(7) That the object of the conspiracy was impossible to effect is not a defense
to this offense.

(8) Conspiracy to commit an offense is a separate and distinct offense from
any offense committed pursuant to or in furtherance of the conspiracy, and
both the conspiracy and any related offense may be charged, tried, and
punished separately. Conspiracy should be charged separately from the
related substantive offense. It is not a lesser-included offense of the
substantive offense.

7) Attempt
a. Elements.
(1) The accused committed an act;

(2) The accused intended to commit one or more substantive offenses triable
by military commission;

(3) The act amounted to more than mere preparation; and

(4) The act apparently tended to effect the commission of the intended
offense.

b. Comments.

(1) To constitute an attempt there must be a specific intent to commit the
offense accompanied by an act that tends to accomplish the unlawful
purpose. This intent need not involve knowledge that the offense is in fact
“triable by military commission.”

(2) Preparation consists of devising or arranging means or measures
apparently necessary for the commission of the offense. The act need not
be the last act essential to the consummation of the offense. The
combination of specific intent to commit an offense, plus the commission
of.an act apparently tending to further its accomplishment, constitutes the
offense of attempt. Failure to complete the offense, whatever the cause, is
not a defense.

(3) A person who purposely engages in conduct that would constitute the
offense if the attendant circumstances were as that person believed them to
be is guilty of an attempt.

(4) It is a defense to an attempt offense that the person voluntarily and
completely abandoned the intended offense, solely because of the person’s
_ own sense that it was wrong, prior to the completion of the substantive
offense. The voluntary abandonment defense is not allowed if the

21

02-CV-299
Case 1:02-cv-00299-CKK Document 77-11 Filed 09/28/04 Page 23 of 23

DoD MCI No. 2, April 30, 2003

abandonment results, in whole or in part, from other reasons, for example,
the person feared detection or apprehension, decided to await a better
opportunity for success, was unable to complete the crime, or encountered
unanticipated difficulties or unexpected resistance.

(5) Attempt is a lesser-included offense of any substantive offense triable by
military commission and need not be charged separately. An accused may
be charged with attempt without being charged with the substantive
offense.

7. EFFECTIVE DATE

This Instruction is effective immediately.

William J’ Haynes 7
General Counsel of the Department of Defense

22

02-CV-299
